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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


BUSINESS HEALTH SOLUTIONS, P.C.,
                                                                Case No. 15-cv-10990
        Plaintiff,
                                                                Hon. Sean F. Cox

v.

PACIFIC TOXICOLOGY LABORATORIES,
doing business as PAC TOX,
and JOHN DOES 1 - 10,

        Defendants.
                                                                                             /

Adam G. Taub (P48703)                              Gerald J. Gleeson, II (P53568)
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Counsel for Plaintiff                              gleeson@millercanfield.com
                                                   crapko@millercanfield.com
                                                   Counsel for Defendant Pacific Toxicology
                                                   Laboratories
                                                                                             /

                           STIPULATED ORDER OF DISMISSAL

        This matter having come before the Court upon the stipulation of the parties, through

their undersigned counsel, and the Court being otherwise fully advised in the premises;

        WHEREAS, the parties have negotiated a settlement, and pursuant to Fed R. Civ. Proc.

41(a), hereby stipulate to the dismissal of Plaintiff's individual claims with prejudice and without

costs or fees, and the dismissal of Plaintiff's putative class claims without prejudice and without

costs or fees.



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       IT IS SO ORDERED.

Dated: July 31, 2015                             s/ Sean F. Cox
                                                 Sean F. Cox
                                                 U. S. District Judge


STIPULATED AND AGREED:



BUSINESS HEALTH SOLUTIONS, P.C.                PACIFIC TOXICOLOGY LABORATORIES,
                                               doing business as PAC TOX


s/Adam G Taub                                  s/ Gerald J. Gleeson
By one of its attorneys                        Gerald J. Gleeson, II (P53568)
Adam G. Taub (P48703)                          Jeffrey A. Crapko (P78487)
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                                               Laboratories




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